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 2   ROBERT KNIEF
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 5

 6                        UNITED STATES DISTRICT COURT
                               DISTRICT OF NEVADA
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 8

 9   UNITED STATES OF AMERICA,                            )
                                                          )        2:16-mj-493-VCF
10                         Plaintiff,                     )
                                                          )
11        vs.                                             )        Stipulation to Continue Preliminary
                                                          )        Hearing (First Request)
12                                                        )
     WALTER LEWIS,                                        )
13                                                        )
                           Defendant.                     )
14                                                        )

15
                    IT IS HEREBY STIPULATED AND AGREED, by and between DANIEL G.
16
     BOGDEN, United States Attorney, and ROBERT KNIEF, Assistant United States Attorneys,
17
     counsel for the United States of America, and Thomas F. Pitaro, counsel for defendant Walter
18
     Lewis, that the preliminary hearing date in the above-captioned matter, currently scheduled for July
19
     22, 2016 at 4:00 pm, be vacated and continued to July 29, 2016, or a date and time to be set by this
20
     Honorable Court.
21
                    This stipulation is entered into for the following reasons:
22
                    1.     The parties request a continuance of the preliminary hearing to allow for
23
     continued negotiations.
24
                    2.     Time is needed to continue and review evidence.
25

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 1
                    3.         Additionally, denial of this request for continuance could result in a
 2
     miscarriage of justice.
 3
                    4.         The additional time requested by this stipulation, is allowed, with the
 4
     defendant=s consent under the Federal Rules of Procedure 5.1(d).
 5
                    5.         This is the first request to continue the preliminary hearing date filed herein.
 6

 7
                    DATED this 21st day of July, 2016.
 8

 9                                                                    Respectfully submitted,
10                                                                    DANIEL G. BOGDEN
                                                                      United States Attorney
11

12   /s/ Thomas Pitaro                                                /s/ Robert Knief
13   THOMAS PITARO, ESQ.                                              ROBERT KNIEF
     Counsel for Defendant                                            Assistant United States Attorney
14   Thompson
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                           UNITED STATES DISTRICT COURT
                                DISTRICT OF NEVADA
 6                                     -oOo-
 7
     UNITED STATES OF AMERICA,                                )
 8                                                            )      2:16-mj-493-VCF
                               Plaintiff,                     )
 9                                                            )
          vs.                                                 )      FINDINGS OF FACT AND ORDER
10                                                            )
                                                              )
11   WALTER LEWIS,                                            )
                                                              )
12                             Defendant.                     )
                                                              )
13
                                              FINDINGS OF FACT
14
                    Based on the pending Stipulation of counsel, and good cause appearing therefore, the
15
     Court finds that:
16
                    1.         The parties request a continuance of the preliminary hearing to allow for
17
     continued negotiations.
18
                    2.         Time is needed to continue and review evidence.
19
                    3.         Additionally, that denial of this request for continuance could result in a
20
     miscarriage of justice.
21
                    4.         That the additional time requested by this stipulation, is allowed, with the
22
     defendant=s consent under the Federal Rules of Procedure 5.1(d).
23
                    5.         This is the first request to continue the preliminary hearing date filed herein.
24
                    For all of the above-stated reasons, the ends of justice would best be served by a
25
     continuance of the preliminary hearing date.
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                                                          3
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 1
                                          CONCLUSIONS OF LAW
 2
                    The ends of justice served by granting said continuance outweigh the best interest of
 3
     the public and the defendant, since the failure to grant said continuance would be likely to result in a
 4
     miscarriage of justice, would deny the parties herein sufficient time and the opportunity within
 5
     which to be able to effectively and thoroughly prepare for the preliminary hearing, and possibly
 6
     resolve the case prior to the preliminary hearing, taking into account the exercise of due diligence.
 7
                    The continuance sought herein is allowed, with the defendant=s consent, pursuant to
 8
     Federal Rules of Procedure 5.1(d).
 9
                                                    ORDER
10
                    IT IS THEREFORE ORDERED that the preliminary hearing currently scheduled for
11
     July 22, 2016 at the hour of 4:00 p.m., be vacated and continued to July 29, 2016 at the hour of
12
     4:00 p.m.
13

14                  DATED 21st day of July, 2016

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                                                            ___________________________________
17                                                          UNITED STATES MAGISTRATE JUDGE

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